    Case: 1:21-cr-00085-SJD Doc #: 30 Filed: 08/27/21 Page: 1 of 2 PAGEID #: 98




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                              :

                       Plaintiff,                      :

       vs.                                             :           Case No. 1:21CR085

TRES GENCO,                                            :           Judge Dlott

                       Defendant.                      :

                        NOTICE OF CLARIFICATION OF EXHIBITS

       Now comes the Defendant, TRES GENCO, by and through counsel, and hereby files this

notice to clarify the demarcation of Exhibits in this matter.

       Mr. Genco has submitted two Exhibits to the Court related to motions that were filed on

August 25, 2021:

       Exhibit 1 is a copy of the Search Warrant in this matter, and this Exhibit relates to the

Defendant’s Motion to Suppress Evidence Seized in Search Warrant for Residence on March 13,

2020 (R. 26).

       Exhibit 2 is copy of the ATF Firearm Report in this matter, and this Exhibit relates to the

Defendant’s Motion to Dismiss Count 2 of the Indictment (R. 28).

       These Exhibits were filed under seal rather than being attached to the pertinent motions

due to the restrictions of the Protective Order in this case.
    Case: 1:21-cr-00085-SJD Doc #: 30 Filed: 08/27/21 Page: 2 of 2 PAGEID #: 99




                                    Respectfully submitted,

                                    DEBORAH WILLIAMS
                                    FEDERAL PUBLIC DEFENDER

                                    s/ Richard Monahan
                                    Richard Monahan (0065648)
                                    First Assistant Federal Public Defender
                                    250 E. 5th Street, Suite 350
                                    Cincinnati, Ohio 45202
                                    (513) 929-4834

                                    Attorney for Defendant
                                    Tres Genco


                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served upon Megan Gaffney Painter,
Assistant United States Attorney, via Electronic Case Filing, on this day of 27th day of August,
2021.

                                    s/ Richard Monahan




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